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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT MOSER,                 :             CIVIL ACTION NO. 1:21-CV-141
                              :
               Plaintiff      :             (Judge Conner)
                              :
          v.                  :
                              :
CENTRE COUNTY CORRECTIONAL :
FACILITY, CHRISTOPHER SCHELL, :
MELANIE GORDAN, and C.O.      :
BICKLE,                       :
                              :
               Defendants     :

                                    ORDER

     AND NOW, this 8th day of June, 2021, for the reasons set forth in the court’s

memorandum of the same date, it is hereby ORDERED that:

     1.    This action is DISMISSED pursuant to Federal Rule of Civil
           Procedure 41(b).

     2.    The Clerk of Court is directed to CLOSE this case.




                                     /S/ CHRISTOPHER C. CONNER
                                     Christopher C. Conner
                                     United States District Judge
                                     Middle District of Pennsylvania
